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        COUNSEL FOR THE DEBTORS
        AND DEBTORS-IN-POSSESSION

                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

              In re:                                             §   Chapter 11
                                                                 §
              SPHERATURE INVESTMENTS LLC,                        §   Case No.: 20-42492
              et al.,                                            §
                                                                 §
                             Debtors.1                           §   Jointly Administered

             MOTION FOR ORDER EXTENDING THE TIME WITHIN WHICH THE DEBTORS
            MAY FILE NOTICES TO REMOVE ACTIONS PURSUANT TO 28 U.S.C. § 1452 AND
            RULES 9006 AND 9027 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

                   A HEARING WILL BE CONDUCTED ON THIS MATTER IN THE
                   UNITED STATES BANKRUPTCY COURT FOR THE EASTERN
                   DISTRICT OF TEXAS, 660 NORTH CENTRAL EXPRESSWAY, SUITE
                   300B, PLANO, TEXAS 75074.

                   IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND
                   IN WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF
                   THIS PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT,
                   YOU MUST FILE YOUR RESPONSE WITH THE CLERK OF THE

        1
          The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are: Spherature
        Investments LLC (“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures Marketing Holdings,
        LLC (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV Marketplace”) EIN#6264;
        WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255; WorldVentures Services, LLC (“WV Services”)
        EIN#2220.


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                   BANKRUPTCY COURT WITHIN TWENTY-THREE (23) DAYS FROM
                   THE DATE YOU WERE SERVED WITH THIS PLEADING. YOU MUST
                   SERVE A COPY OF YOUR RESPONSE ON THE PERSON WHO SENT
                   YOU THE NOTICE; OTHERWISE, THE COURT MAY TREAT THE
                   PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

                   Spherature Investments LLC (“Spherature”), together with its affiliates identified herein,

        as debtors and debtors-in-possession (collectively, the “Debtors”), hereby file this Motion for

        Order Extending the Time Within Which the Debtors May File Notices to Remove Actions

        Pursuant To 28 U.S.C. § 1452 and Rules 9006 and 9027 of the Federal Rules of Bankruptcy

        Procedure (the “Motion”), requesting an order pursuant to 28 U.S.C. § 1452 and Rules 9006 and

        9027 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) extending the

        period (the “Removal Period”) within which the Debtors may remove actions (each individually,

        an “Action,” and, collectively, the “Actions”) by one-hundred twenty (120) days, up to and

        including July 19, 2021, without prejudice to the Debtors’ right to seek further extensions. In

        support of the Motion, the Debtors respectfully state as follows:

                                                      I.
                                           JURISDICTION AND VENUE

                   1.     This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 1334 and

        157(b). This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                   2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                   3.     The legal bases for the relief requested herein are section 1452 of title 28 of the

        United States Code (the “Judicial Code”) and Bankruptcy Rules 9006 and 9027.




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                                                             II.
                                                         BACKGROUND

                   4.        On December 21, 2020 (the “Petition Date”), the Debtors filed their respective

        voluntary petitions for relief under chapter 11 of the Bankruptcy Code thereby initiating the above-

        captioned cases (the “Cases”).

                   5.       Contemporaneously with the filing of their first-day motions, the Debtors filed

        declaration testimony by the Debtors’ proposed Chief Restructuring Offer, Erik Toth (the “Toth

        Declaration”),2 which contains additional background information on the Debtors and their

        operations. The contents of the Toth Declaration are incorporated by reference, as if set forth herein

        verbatim, pursuant to Federal Rule of Civil Procedure 10(c).

                   6.       The Debtors remain in possession of their property and are managing their

        businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

        Code.

                   7.       On January 22, 2021, the United States Trustee appointed the Official Committee

        of Unsecured Creditors (the “Committee”) [Docket Nos. 93 and 116]. Also on January 22, 2021,

        each of the Debtors filed their respective Schedules of Assets and Liabilities and Statements of

        Financial Affairs (the “Schedules and Statements”).

                   8.       On February 22, 2021, each of the Debtors filed their respective Monthly Operating

        Reports for the periods of December 2020 and January 2021. Also on February 22, 2021, the

        Debtors commenced an adversary proceeding against Kenneth E. Head by filing an Original

        Complaint and Request for Preliminary Injunction [Docket No. 141].


        2
            The Toth Declaration is filed in the lead case of Spherature Investments LLC, pending before the Bankruptcy Court.


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                   9.    On March 2, 2021, the Debtors filed a Motion for Order Extending the Exclusive

        Periods During Which Only Debtors May File and Confirm a Plan [Docket No. 158].

                   10.   On March 5, 2021, the Debtors commenced an adversary proceeding against

        Seacret Direct LLC by filing an Original Complaint and Request for Preliminary Injunction

        [Docket No. 160]. Also on March 5, 2021, the Debtors filed a Motion for Rule 2004 Examination

        of Grouply Ventures, LLC, Top Tier Travel, Inc., and Virginia Trask, and for Production of

        Documents [Docket No. 161].

                                                    III.
                                            RELIEF REQUESTED

                   11.   Prior to the commencement of these chapter 11 cases (the “Cases”), the Debtors

        were involved in a number of pre-petition civil Actions in various forums across the United States.

        On January 22, 2021, the Debtors filed their respective Schedules and Statements, which identified

        the Actions known as of that date. However, as the Cases have moved forward, the Debtors and

        their advisors have primarily focused on stabilizing the Debtors’ businesses, reaffirming the

        Debtors’ relationships with sales representatives, customers, and vendors, reforming and

        consolidating the Debtors’ cash management system, engaging in discussions with key

        stakeholders about a sale of the Debtors’ assets and a chapter 11 plan, and commencing adversary

        proceedings and related discovery to seek redress for damage caused to the Debtors’ estates (the

        “Estates”). As such, the Debtors and their professionals have not yet had ample time to analyze

        and determine which, if any, pre-petition Actions they will seek to remove under 28 U.S.C. § 1452.

        Accordingly, by this Motion, the Debtors seek entry of an order, substantially in the form attached

        hereto as Exhibit “A”, extending the Removal Period to July 19, 2021, which will in turn allow



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        the Debtors to maintain their present focus on other time-critical restructuring matters before

        turning their attention to issues related to removal.

                                                   IV.
                                    BASIS FOR THE RELIEF REQUESTED

                   12.   Section 1452 of the Judicial Code and Bankruptcy Rule 9027 govern the removal

        of pending civil actions related to chapter 11 cases and Bankruptcy Rule 9027 sets forth the time

        periods for filing notices to remove claims or causes of action. See 28 U.S.C. § 1452; FED. R.

        BANKR. P. 9027. Under Bankruptcy Rule 9027, a party must file a notice of removal before the

        later of

                         (A) 90 days after the order for relief in the case under the Code, (B)
                         30 days after entry of an order terminating a stay, if the claim or
                         cause of action in a civil action has been stayed under §362 of the
                         Code, or (C) 30 days after a trustee qualifies in a chapter 11
                         reorganization case but not later than 180 days after the order for
                         relief.

        FED. R. BANKR. P. 9027(a)(2). However, Bankruptcy Rule 9006(b)(1) allows the Court to extend

        the period to remove actions provided by Bankruptcy Rule 9027 “for cause shown . . . if the request

        therefor is made before the expiration of the period originally prescribed.” FED. R. BANKR. P.

        9006(b)(1).


                   13.   At present, the Removal Period is set to expire in these Cases on March 21, 2020,

        and the Debtors seek an order extending the Removal Period to July 19, 2021, without prejudice

        to the Debtors’ right to seek further extensions.

                   14.   An extension of the Removal Period is appropriate under the present circumstances

        because since the Petition Date, the Debtors have focused their efforts on maximizing the value of



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        the Estates by prioritizing time-sensitive and urgent restructuring matters, including working with

        various stakeholders to stabilize operations, filing Schedules, Statements, and Monthly Operating

        Reports, negotiating a sale of the Debtors’ assets and chapter 11 plan, and commencing adversary

        proceedings and related discovery.

                   15.   More specifically, an extension of the Removal Period is appropriate because the

        Debtors have expended considerable time and effort by handling countless operational issues,

        including (1) responding to creditor, customer, financial institution, and vendor concerns and

        questions; (2) preparing and filing the Debtors’ Schedules, Statements, and Monthly Operating

        Reports; (3) responding to numerous informational and due-diligence requests by the Committee,

        and negotiating with the Committee and other interested parties to consensually resolve various

        issues; (4) marketing, negotiating, and preparing for a potential sale of the Debtors’ assets; (5)

        engaging in negotiations and discussions with various parties in interest regarding a consensual

        resolution of the Cases; and (6) filing adversary proceedings and discovery motions to increase the

        Debtors’ going concern value for the benefit of the Estates, the creditors, and the stakeholders.

                   16.   Therefore, it is presently premature for the Debtors to make an assessment

        concerning the potential benefits and burdens of removing the pre-petition Actions. Accordingly,

        it is necessary and prudent to grant an extension of the Removal Period to protect the removal

        rights of the Debtors and any of their successors in interest. The relief requested herein is in the

        best interests of the Debtors, the Estates, the creditors, and all stakeholders. The extension sought

        will afford the Debtors and any of their successors the opportunity to make fully informed




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        decisions with respect to the removal of any Action and will ensure that the Debtors do not forfeit

        valuable rights under 28 U.S.C. § 1452.

                                                       V.
                                                     NOTICE

                   17.   This Motion has been provided to: (i) the Office of the United States Trustee; (ii)

        to each of the Debtors’ secured lenders; (iii) counsel to the agents of the Debtors’ secured lenders;

        (iv) proposed counsel to the Official Committee of Unsecured Creditors; (v) the forty (40) largest

        unsecured creditors of each the Debtors, as applicable; (vi) the Internal Revenue Service; and (vii)

        all parties in interest who have formally appeared and requested notice. The Debtors respectfully

        submit that no further notice of this Motion is required.

                   18.   The pleadings in these Cases and supporting papers are available on the Bankruptcy

        Court’s website at https://ecf.txeb.uscourts.gov/ and on the Debtors’ Claims and Noticing Agent’s

        website at https://cases.stretto.com/Spherature. You can also request any pleading you need from

        the Debtors’ proposed counsel at: Foley & Lardner LLP, c/o Thomas C. Scannell, 2021 McKinney

        Avenue, Suite 1600, Dallas, Texas 75201 (tscannell@foley.com).

                                                      VI.
                                                  CONCLUSION

                   WHEREFORE, the Debtors respectfully request that the Court enter an order,

        substantially in the form attached as Exhibit “A”, granting the relief requested herein and granting

        such other and further relief as the Court deems just and proper.




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        DATED: March 19, 2021                        Respectfully submitted by:

                                                     /s/ Marcus A. Helt
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                                                     Thomas C. Scannell (TX 24070559)
                                                     Stephen A. Jones (TX 24101270)
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                                                     COUNSEL FOR THE DEBTORS
                                                     AND DEBTORS-IN-POSSESSION


                                        CERTIFICATE OF SERVICE

               I hereby certify that, on March 19, 2021, a true and correct copy of the foregoing document
        was served electronically by the Court’s PACER system.

                                                            /s/ Stephen A. Jones
                                                            Stephen A. Jones




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